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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE                                )                        CHAPTER 7
                                     )
AMERICAN UNDERWRITING SERVICES, LLC, )                        CASE NO. 18-58406-SMS
                                     )
    DEBTOR.                          )

                   NOTICE OF APPOINTMENT OF INTERIM TRUSTEE
                    AND SECTION 341(a) MEETING OF CREDITORS

        Pursuant to 11 U.S.C. § 701, the United States Trustee appoints S. Gregory Hays as
interim trustee in this case and designates him to preside over the meeting of creditors. Unless
creditors at the first meeting of creditors held pursuant to 11 U.S.C. § 341(a) elect another
trustee, the interim trustee appointed herein shall serve as trustee without further appointment or
qualification. The trustee shall serve under the blanket bond heretofore approved. The name and
address of the interim trustee and the date, time, and location of the section 341(a) meeting of
creditors are as follows:

 S. Gregory Hays                           September 12, 2018, at 11:00 a.m.
 2964 Peachtree Road, NW                   Richard Russell Federal Building & U.S. Courthouse
 Suite 555                                 Third Floor, Room 366
 Atlanta, GA 30302 -2153                   75 Ted Turner Drive, S.W.
 Phone: (404) 926-0051                     Atlanta, GA 30303

Notice given by:
                                              DANIEL M. MCDERMOTT
                                              UNITED STATES TRUSTEE
                                              REGION 21

                                              s/ Jeneane Treace
                                              R. Jeneane Treace
                                              GA Bar No. 716620
                                              United States Department of Justice
                                              Office of the United States Trustee
                                              362 Richard B. Russell Building
                                              75 Ted Turner Drive, S.W.
                                              Atlanta, Georgia 30303
                                              (404) 331-4437
                                              jeneane.treace@usdoj.gov
